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                                                                              2017 Dec-11 AM 11:08
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

QUENTIN TRUSS,                          )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )   Case No.: 2:16-cv-01326-AKK-JHE
                                        )
LATASHA TERRELL, et al.,                )
                                        )
      Defendants.                       )


                           ORDER DISMISSING CASE

      A stipulation of dismissal, signed by all remaining parties who have

appeared, having been filed in this action (doc. 26), it is hereby ORDERED,

ADJUDGED, and DECREED that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

this case is DISMISSED, with prejudice, costs to be taxed as paid.

      DONE the 11th day of December, 2017.


                                     _________________________________
                                              ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE
